                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MINNESOTA




    MAINSTREAM FASHIONS                                  )            CASE NO. 19-CV-02953 SRN/TNL
    FRANCHISING, INC., a Minnesota                       )
    corporation,                                         )
                                                         )
            Plaintiff,                                   )
                                                         )
    v.                                                   )    DEFENDANTS’ MEMORANDUM IN
    ALL THESE THINGS, LLC, a North                       )      SUPPORT OF ITS MOTION TO
    Carolina limited liability company;                  )              DISMISS
    GRACE AND LOVE, LLC, a North                         )
    Carolina limited liability company;                  )
    CCP, LLC, a North Carolina limited                   )
    liability company; CHARLOTTE                         )
    COOPER PARRIS, a North Carolina                      )
    resident; ANITRA MITCHELL, a                         )
    North Carolina resident; and                         )
    BRADLEY MITCHELL, a North                            )
    Carolina resident,                                   )
                                                         )
            Defendants.                                  )
                                                         )
                                                         )


         MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

                                                 I.     Introduction

           While Plaintiff Mainstream Fashions Franchising, Inc. (hereinafter “Mainstream”

or “Plaintiff”) filed this federal court action and, therefore, positioned itself to be the

“Plaintiff,” Mainstream is the party who has violated its contractual and statutory duties.1

Mainstream’s Complaint should be dismissed for the following reasons, amongst others:

1
 It is important to remember that Defendants first filed an action related to this matter by submitting their initial
Demand for Arbitration on November 15, 2019.
(1) Mainstream committed prior material breaches of the Franchise Agreements and the

implied covenant of good faith and fair dealing; (2) Mainstream violated the Minnesota

Franchise Act: (a) by terminating Defendants without the requisite statutory good cause,

(b) by failing to provide the Defendants with the requisite statutory 90 days’ notice of

termination and 60 days to cure, and (c) by seeking to impose an unreasonable

requirement on Defendants in violation of Minnesota Rule 2860.4400; and (3)

Mainstream’s post-termination non-compete provisions in the Franchise Agreements are

overly broad because they extend far beyond the protection of Mainstream’s legitimate

interests and are, therefore, unenforceable on their face, as a matter of law.

       In short, as explained in more detail below, the substance of Mainstream’s entire

case is based on a theory that is factually and legally incorrect.               Specifically,

Mainstream’s Complaint is based on the flawed premise that the post-termination non-

compete provisions are enforceable (which they are not), and that Defendants are bound

by other post-termination obligations set forth in the Franchise Agreements (which they

are not, because Mainstream committed prior material breaches and prior violations of

the Minnesota Franchise Act).

       Counts I through V of the Complaint all depend on this same flawed premise, and

should be dismissed for this reason alone. Counts VI through VIII, as well as Counts I

through V, have independent defects that require dismissal, so the Complaint should be

dismissed in its entirety. And, because Mainstream’s claims are based on an erroneous

misunderstanding of the facts and interpretation of the contract which cannot be remedied

through re-pleading, this case should be dismissed with prejudice.


                                              2
                                       II.    Factual Background

        Plaintiff is the franchisor of Mainstream Boutique®. (Cmplt. ¶ 6). Defendants

Brad and Anitra Mitchell own Defendant All These Things, LLC and Defendant Love

and Grace, LLC. (Cmplt. ¶ 8, 10). Defendant Charlotte Parris owns Defendant CCP,

LLC. (Cmplt. ¶ 12).

        Mainstream and Defendant All These Things, LLC entered into a Franchise

Agreement with an effective date of June 14, 2011, granting All These Things, LLC the

right to operate a Mainstream Boutique® in Winston Salem, North Carolina. (Cmplt. ¶

23). Mainstream and Defendants Anitra and Brad Mitchell entered into a Franchise

Agreement with an effective date of January 16, 2015, granting them the right to operate

a Mainstream Boutique® in Mooresville, North Carolina. (Cmplt. ¶ 26).2

        As part of its requirement as a franchisor under the Amended Federal Trade

Commission Franchise Rule, 16 C.F.R. §§ 436.1–436.9, Mainstream provided

Defendants All These Things, LLC, Brad and Anitra Mitchell, and Charlotte Parris with

certain disclosures with respect to 23 different “Items” of information prior to the sale of

their franchises. The 23 Items were disclosed in what is referred to as a “Franchise

Disclosure Document” or “FDD,” which document is similar to a prospectus used in the

sale of a security.

        The applicable FDDs contained two identical Minnesota Addenda to the Franchise

Agreements, as set forth at Exhibits F and G respectively of the applicable FDDs, which


2
  Collectively, the Winston Salem Franchise Agreement and the Mooresville Franchise Agreement are referred to as
the “Franchise Agreements.”


                                                       3
Addenda apply to “franchises sold in the State of Minnesota” and which incorporate the

applicable provisions of the Minnesota Franchise Act into the Franchise Agreements

thereunder “notwithstanding anything which may be contained in the body of the

Franchise Agreement to the contrary.”3 Because the franchises in dispute were “sold in

the State of Minnesota,” the Franchise Agreements were amended as follows:

         This Addendum will pertain to franchises sold in the State of Minnesota
         and will be for the purpose of complying with Minnesota statutes and
         regulations. Notwithstanding anything which may be contained in the body
         of the Franchise Agreement to the contrary, the Agreement will be
         amended as follows:

         1. Article 2 of this Agreement will be amended to provide that, except in
            certain circumstances specified by law, MAINSTREAM must provide
            FRANCHISEE with at least 180 days prior written notice of nonrenewal
            of the franchise;

         2. Article 15.2 will be amended to require that, except as set forth in
            Article 15.4 and 15.5, in the event MAINSTREAM gives
            FRANCHISEE written notice that FRANCHISEE has breached this
            Agreement, such written notice will be given to FRANCHISEE at least
            90 days prior to the date this Agreement is terminated by
            MAINSTREAM, and FRANCHISEE will have 60 days after having
            been given such written notice within which to correct the breach
            specified in the written notice; and

         3. Notwithstanding any provision of this Agreement to the contrary, a
            court of competent jurisdiction will determine whether MAINSTREAM
            will be required to post a bond or other security, and the amount of such
            bond or other security, in any injunctive proceeding commenced by
            MAINSTREAM against FRANCHISEE or FRANCHISEE’S
            shareholders.

(Id.).



3
  Mainstream failed to attach to its Complaint complete copies of the Franchise Agreements, as Exhibits A and B to
the Complaint fail to include the two Minnesota Addenda. Therefore, Exhibits F and G to the FDDs are attached
hereto as Exhibit A.


                                                        4
        The Franchise Agreements contain a provision stating that North Carolina law

governs because the Mitchell Defendants’4 franchises were located in North Carolina and

the Franchise Agreements provide that the parties’ relationship will be governed by the

state in which the franchises are located:

        Except to the extent governed by the United States Trademark Act of 1946
        (Lanham Act, 15 U.S.C. § 1051 et seq.), this Agreement and the
        relationship between MAINSTREAM and FRANCHISEE will be governed
        by the laws (statutory or otherwise) of the state in which the Retail
        Location is located . . . .

(Cmplt. Ex. A; § 20.10; Ex. B, § 20.10).

        However, as is apparent from the “GP” coding on both of the Franchise

Agreements at issue here, and the FDDs provided to the Mitchell Defendants in

connection with their being asked to sign these two Franchise Agreements, all of these

documents were prepared by Mainstream counsel’s Gray Plant law firm. Accordingly,

Mainstream’s counsel and his law firm have long been aware of the fact that, since the

origin of these two franchisor/franchisee relationships, the applicable state law to be

applied in deciding all of the legal issues in this case, including the extent to which the

post-termination non-competes are enforceable or not, is North Carolina law (see, e.g.,

Section 20.10 of the two Franchise Agreements), as augmented by the Minnesota

Addenda to these two Franchise Agreements in Exhibit F and Exhibit G to the FDDs,

which are mandatory Minnesota Addenda required for “franchises sold in the State of




4
 Collectively, All These Things, LLC, Brad Mitchell, and Anitra Mitchell are hereinafter referred to as “the
Mitchell Defendants.”


                                                     5
Minnesota,” as were these two franchises, which Addenda are part of the Franchise

Agreements.

—Mainstream’s Purported Post-Termination Provisions

      The Franchise Agreements contain post-termination covenants not to compete, as

follows:

      POST-TERM COVENANT NOT TO COMPETE. FRANCHISEE,
      FRANCHISEE’S owners and the Personal Guarantors will not, for a period
      of two years after the termination or expiration of this Agreement, on their
      own account or as an employee, independent contractor, agent, consultant,
      partner, officer, director or owner of any other person, firm, entity,
      partnership, limited liability company or corporation: (A) seek to employ or
      retain any employee or independent contractor who is at that time
      employed or retained by MAINSTREAM or by any other Mainstream
      Boutique franchisee, or induce any such employee or independent
      contractor to terminate his or her employment or relationship, (B) divert or
      attempt to divert any business, Protected Account or customers of the
      Business or of any other Mainstream Boutique business to any competing
      business; or (C) own, operate, lease, franchise, conduct, engage in, be
      connected with, have any interest in or assist any person or entity engaged
      in any business that is in any way competitive with (including, but not
      limited to, over the Internet) or similar to the Mainstream Boutique
      businesses conducted by MAINSTREAM or MAINSTREAM’S
      franchisees, which is located (i) within a 25-mile radius of
      FRANCHISEE’S Retail location; (ii) within a 25-mile radius of any other
      Mainstream Boutique businesses operated by MAINSTREAM or any of
      MAINSTREAM’S franchisees pursuant to any franchise, development,
      license or other territorial agreement; or (iii) over the Internet.
      FRANCHISEE, FRANCHISEE’S owners and the Personal Guarantors
      expressly agree that the two-year period, the Internet and the geographical
      limits are [sic] reasonable and necessary to protect MAINSTREAM and
      MAINSTREAM’S franchisees if this Agreement expires or is terminated
      for any reason, and that this covenant not to compete is necessary to permit
      MAINSTREAM the opportunity to resell and/or develop a new Mainstream
      Boutique business at or in the area surrounding the Designated Radius.

(Cmplt. Ex. A, § 18.2; Ex. B, § 18.2) (emphasis added).




                                           6
       Likewise, Section 17 of the Franchise Agreements contains the Mitchell

Defendants’ purported obligations upon termination or expiration. (See Cmplt. Ex. A, §

17; Ex. B, § 17).

       Section 12.5 of the Franchise Agreements provides Mainstream with certain

purported audit rights, but only during the term of the Franchise Agreements as follows:

       MAINSTREAM’S AUDIT RIGHTS. FRANCHISEE and its accountants
       will make all of their books, ledgers, work papers, accounts, bank
       statements, tax returns, sales tax returns, sales receipts and financial records
       pertaining to FRANCHISEE’S Business (‘books and financial records’)
       available to MAINSTREAM. FRANCHISEE will allow MAINSTREAM
       or its authorized representatives to access FRANCHISEE’S Retail Location
       and Business office, without prior notice, during regular business hours or
       at all times to inspect, audit, photocopy, and videotape FRANCHISEE’S
       business operations and records, and to interview the Business’ employees
       and current and prospective clients . . . FRANCHISEE’S failure or refusal
       to produre the books and financial records for audit by MAINSTREAM in
       accordance with this Article 12.5 will constitute a material breach of this
       Agreement and will be grounds for the immediate termination of this
       Agreement by MAINSTREAM.

(See Cmplt. Ex. A, § 12.5; Ex. B, § 12.5).

       Accordingly, based on the plain language of Section 12.5 of the Franchise

Agreements, Mainstream is only entitled to audit rights during the term of the Franchise

Agreements.

       The provisions noted above only come into play if there has not been a prior

material breach by Mainstream. See, e.g., Ball v. Maynard, 645 S.E.2d 890, 897 (N.C.

Ct. App. 2007) (“It is well settled that where one party breaches a contract the other party

is relieved from the obligation to perform.”) (internal citations omitted).         See also

Carotek, Inc. v. Textron Fastening Sys., Inc., No. CIV. 3:05395, 2008 WL 4567308, at *4



                                              7
(W.D.N.C. Oct. 9, 2008) (“The general rule governing bilateral contracts requires that if

either party to the contract commits a material breach of the contract, the other party

should be excused from the obligation to perform further.”) (internal citations omitted).

—The Mitchell Defendants’ Rights under the Franchise Agreements

       Section 16.2 of the Franchise Agreements provides:

       16.1    DEFAULTS.        MAINSTREAM will be in default under this
       Agreement if MAINSTREAM violates any material provision, term or
       condition of this Agreement.

(Cmplt. Ex. A, § 16.1; Ex. B, § 16.1).

       The Mitchell Defendants had the right to terminate the Franchise Agreements

upon Mainstream’s default and failure to cure:

       16.2 NOTICE OF BREACH. FRANCHISEE will not have the right to
       terminate this Agreement unless and until written notice setting forth the
       alleged breach has been given to MAINSTREAM by FRANCHISEE and
       MAINSTREAM fails to commence the actions necessary to correct the
       alleged breach within 30 days after having been given such written notice.
       If MAINSTREAM fails to commence the actions necessary to correct the
       alleged breach as provided herein within 30 days after having been given
       such written notice, then this Agreement may be terminated by
       FRANCHISEE as provided for in this Agreement.

(Cmplt. Ex. A, § 16.2; Ex. B, § 16.2).

—Facts Leading up to the Dispute

       On September 19, 2019, Mainstream sent the Mitchell Defendants two letters (one

for each franchise) directing them to migrate to the new POS System. (Cmplt. Ex. C). If

they failed to install and operate Mainstream’s mandated Springboard POS System by

October 19, 2019, Mainstream stated that it would issue formal defaults under the terms

of its Franchise Agreements. (Id.).


                                             8
      On September 27, 2019, the Mitchell Defendants emailed an eight-page response

to Mainstream’s September 19, 2019 letters. (Cmplt. Ex. D). The Mitchell Defendants

set forth therein multiple reasons as to why Mainstream was not acting in good faith, or

in a fair and nondiscriminatory fashion, in unreasonably exercising its discretion to

demand that they replace their proven, capably performing POS System, under threat of

termination, if they did not do so within 30 days. (Id.) In particular, the Mitchell

Defendants explained that the new Springboard POS System is fraught with issues. (Id.)

Namely, they would incur significant and unnecessary hardware and software costs; the

new Springboard POS System was incompatible and incapable of syncing with their

current leading accounting software; the new Springboard POS System would require

additional staff to address the numerous additional steps needed to receive a product; and

other Mainstream store owners had already cited poor service and response from

Springboard. (Id.)

      While Mainstream said the Mitchell Defendants would have until October 19,

2019 to “install and operate the new POS System” prior to putting the Mitchell

Defendants in formal default under the terms of the Franchise Agreements (Cmplt. Ex.

C), Mainstream jumped the gun when, on October 2, 2019, prior to the October 19, 2019

deadline given to the Mitchell Defendants, Mainstream prematurely issued two formal

Notices of Default and Termination to the Mitchell Defendants with respect to their

Winston Salem and Mooresville locations. (Cmplt. Ex. E). Mainstream contended that

the Mitchell Defendants defaulted under the terms of the Franchise Agreements because

they had not yet purchased and installed the mandated Springboard POS System. (Id.)


                                            9
Mainstream relied on Section 15.2 of the Franchise Agreements and stated that the

Mitchell Defendants had just 30 days to cure (i.e., to November 1, 2019), at which point

the Franchise Agreements would be deemed terminated. (Id.)

       On October 3, 2019, the Mitchell Defendants responded to Mainstream’s October

2, 2019 Notices of Default and Termination. (Cmplt. Ex. F). The Mitchell Defendants

disputed Mainstream’s purported right to terminate the Franchise Agreements and

invoked their right under Section 16.2 of the Franchise Agreements to therein notify

Mainstream of Mainstream’s breaches of the Franchise Agreements and their right to

terminate the Franchise Agreements unless Mainstream cured its breaches, including by

withdrawing its notice of termination. (Id.)

       On October 16, 2019, Mainstream’s counsel sent the Mitchell Defendants a letter

claiming that they had failed to specify how Mainstream breached the Franchise

Agreements or how Mainstream might cure the alleged breaches. (Cmplt. Ex. G).

       On November 1, 2019, the Mitchell Defendants notified Mainstream that

Mainstream had no legal right to terminate the Franchise Agreements, and therein

notified Mainstream that Mainstream’s uncured breaches gave them the right to terminate

the Franchise Agreements on or about the same November 1, 2019 date, which the

Mitchell Defendants stated “we are now doing.” (Cmplt. Ex. H).

       On November 5, 2019, Mainstream sent counsel for the Mitchell Defendants a

letter advising Defendants that the Franchise Agreements, effective immediately, had

been terminated because they failed to cure the POS System default and had subsequently

abandoned the franchises. (Cmplt. Ex. I).


                                               10
      After termination, on November 6, 2019, Mainstream sent the Mitchell Defendants

two audit letters expressing a baseless concern that they “underreported their sales to

Mainstream while operating their” franchised business in Winston Salem and

Mooresville. (Cmplt. Ex. J).     It is apparent that Mainstream attempted to use this

baseless “concern” to force the Mitchell Defendants to surrender the books and records of

their Winston Salem and Mooresville locations over to Mainstream for an audit—after

the Franchise Agreements had already been lawfully terminated, which it had no right to

do.

      It is against this backdrop, that Defendants now move to dismiss Plaintiff’s

Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                   III.   Argument

      A Rule 12(b)(6) motion to dismiss for failure to state a claim should be granted:

      If the complaint does not allege ‘enough facts to state a claim to relief that
      is plausible on its face.’ Twombly, 550 U.S. at 570. In other words, the
      factual allegations must ‘be enough to raise a right to relief above the
      speculative level.’ Id. at 555. ‘Thus, while a plaintiff does not need to
      demonstrate in a complaint that the right to relief is ‘probable,’ the
      complaint must advance the plaintiff’s claim ‘across the line from
      conceivable to plausible.’ Walters v. McMahen, 684 F.3d 435, 439 (4th
      Cir. 2012) (quoting Twombly, 550 U.S. at 570). As explained by the United
      States Supreme Court:

      A claim has facial plausibility when the plaintiff pleads the factual content
      that allows the court to draw the reasonable interference that the defendant
      is liable for the misconduct alleged. The plausibility standard is not akin to
      probability requirement, but it asks for more than a sheer possibility that a
      defendant has acted unlawfully. Where a complaint pleads facts that are
      merely consistent with a defendant’s liability, it stops short of the line
      between possibility and plausibility of entitlement to relief. Ashcroft v.
      Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.E.2d 868 (2009) Internal
      quotations and citations omitted).


                                           11
      A Rule 12(b)(6) motion tests the sufficiency of a complaint and ‘does not
      resolve contests surrounding the facts, the merits of a claim, or the
      applicability of defenses.’ Republican Party of N.C. v. Martin, 980 F.2d
      943, 951 (4th Cir. 1992). Accordingly, a court should ‘assume the truth of
      all facts alleged in the complaint and the existence of any fact that can be
      proven, consistent with the complaint’s allegations.’ E. Shore Mkts., Inc. v.
      J.D. Assocs. Ltd. P’ship, 213 F.3d 176, 180 (4th Cir. 2000). Although the
      truth of the facts alleged is assumed, courts are not bound by the ‘legal
      conclusions drawn from the facts’ and ‘need not accept as true unwarranted
      interferences, unreasonable conclusions, or arguments.’ Id.

Hall-El v. United States, No. 1:11CV1037, 2013 WL 1346621, at *3 (M.D.N.C. Apr. 3,

2013), report and recommendation adopted sub nom, El v. Pate, No. 1:11CV1037, 2013

WL 5213428 (M.D.N.C. Sept. 16, 2013).

       A.    Count I should be dismissed because: (1) Mainstream committed prior
material breaches of the Franchise Agreements and the implied covenant of good
faith and fair dealing; (2) Mainstream violated the Minnesota Franchise Act; and
(3) Mainstream’s post-termination non-compete provisions in the Franchise
Agreements are overbroad and are, therefore, unenforceable on their face as a
matter of law.

             1. Mainstream committed prior material breaches of the Franchise
                Agreements and the implied covenant of good faith and fair dealing.

      Mainstream’s claim for breach of the Franchise Agreements and Guaranty, and

failure to comply with the non-compete covenants, rests entirely on the false premise that

Mainstream did not commit prior material breaches of the Franchise Agreements (which

Mainstream did), that the Mitchell Defendants are bound by the post-termination

covenants not to compete (which they are not), and that the post-termination covenants

not to compete are enforceable (which they are not). See Ball, 645 S.E.2d at 897 (“It is

well settled that where one party breaches a contract the other party is relieved from the

obligation to perform.”) (internal citations omitted). See also Carotek, Inc., 2008 WL


                                           12
4567308, at *4 (“The general rule governing bilateral contracts requires that if either

party to the contract commits a material breach of the contract, the other party should be

excused from the obligation to perform further.”) (internal citations omitted).

         Under North Carolina law,5 in every contract there is an implied covenant of good

faith and fair dealing. See, e.g., Heron Bay Acquisition, LLC v. United Metal Finishing,

Inc., 781 S.E.2d 889, 894 (N.C. Ct. App. 2016). The implied covenant of good faith and

fair dealing is especially meaningful in long-term contracts, like franchise agreements,

which grant the franchisor discretion to take vague and unspecified actions, including, but

not limited to, changing a franchisee’s obligations under a constantly evolving operations

manual. Indeed, “[u]nder North Carolina law, where one party has sole discretion under

a contract, it may use that discretion so long as it does not violate its implied duty of good

faith and fair dealing.” Jiangmen Kinwai Furniture Decoration Co. Ltd. v. IHFC Props.,

LLC, 780 F. App’x 1 (4th Cir. 2019). See also Cole v. Wells Fargo Bank, N.A., 2016 WL

737943, at *7 (W.D.N.C. Feb. 23, 2016) (“Courts have equated the covenant of good

faith and fair dealing with an obligation to exercise . . . discretion reasonably and with

proper motive . . . not . . . arbitrarily, capriciously, or in a manner inconsistent with the

reasonable expectations of the parties.”). Stated differently, “[w]here a contract confers

on one party a discretionary power affecting the rights of the other, this discretion must

be exercised in a reasonable manner based upon good faith and fair play.” Midulla v.




5
 The Franchise Agreements are governed by North Carolina law because the franchises were located in North
Carolina, and the Franchise Agreements provide that the parties’ relationship will be governed by the state in which
the franchises are located. (See Cmplt. Ex. A, § 20.10; Ex. B., § 20.10).


                                                        13
Howard A. Cain Co., 515 S.E.2d 244, 246 (N.C. Ct. App. 1999) (internal quotations and

citations omitted).

          Mainstream breached the Franchise Agreements and the implied covenant of good

faith and fair dealing in three primary ways.

          First, Mainstream breached the Franchise Agreements by sending the Mitchell

Defendants the October 2, 2019 Notice that they were to be terminated for failure to

install an unwanted, and expensive, new POS System. (See Cmplt. Ex. E). Mandating

the new POS System, under threat of termination, was unreasonable, and not a good faith

or fair and non-discriminatory exercise of Mainstream’s discretion under these

circumstances, as, again, the Mitchell Defendants already had a capably performing POS

System, and the new POS System was fraught with flaws (which the Mitchell Defendants

relayed to Mainstream in their September 27, 2019 letter (Cmplt. Ex. D)). The Mitchell

Defendants’ refusal to purchase and install the new POS System did not provide

Mainstream with the right to terminate the Franchise Agreements.

          Second, Mainstream breached the Franchise Agreements by failing to withdraw its

notice of wrongful termination, as specified by the Mitchell Defendants in their October

3, 2019 Notice pursuant to Article 16.2 of the two Franchise Agreements. (See Cmplt.

Ex. F).

          Third, Mainstream violated the terms of the Minnesota Addenda, which were

incorporated by reference into the two Franchise Agreements, because it did not have the

requisite good cause to terminate the Mitchell Defendants, nor did Mainstream provide

the requisite notice and opportunity to cure under the Franchise Agreements as amended


                                             14
by Mainstream’s Minnesota Addenda, Exhibits F and G to the FDD (as required under

the Minnesota Franchise Act).

         To expand, as noted in more detail above, certain required provisions of the

Minnesota Franchise Act, Minn. Stat. § 80C.01, et seq., pertaining to sales made in the

state of Minnesota were incorporated by reference into the Franchise Agreements in

Exhibit F and Exhibit G to the FDDs, which were prepared by Mainstream’s counsel,

Gray Plant, and which were sent to the Mitchell Defendants prior to them entering into

the Franchise Agreements (as required by the Minnesota Franchise Act and by the

Federal Trade Commission).6

         Mainstream breached the Franchise Agreements’ required “cure period” (as

amended by Exhibits F and G), which was 60 days, not 30 days, as Mainstream purported

to claim in its October 2, 2019 Notice. Stated differently, the October 2, 2019 Notice of

Default and Termination (Cmplt. Ex. E) was a violation of the Minnesota Franchise Act’s

applicable provisions, which Gray Plant attorneys had incorporated by reference into the

two Franchise Agreements, with Addenda to the two FDDs, including the statutory

requirements that Mainstream have the requisite good cause for these terminations, and

provide the requisite 90 days’ notice and 60 days’ opportunity to cure. (Mainstream’s

express statutory breaches are explained more fully in Part A.2 below).


6
  See Minn. Stat. § 80C.19 (“The provisions of sections 80C.01 to 80C.22 concerning sales and offers to sell shall
apply when a sale or offer to sell is made in this state; when an offer to purchase is made and accepted in this state;
or when the franchise is to be located in this state.”). While the choice of law provisions of the Franchise
Agreements designated North Carolina law, the two Minnesota Addenda made clear that these provisions of the
Minnesota Franchise Act would apply. Moreover, Mainstream, as a Minnesota based franchisor, created an offer to
sell under the Minnesota Franchise Act under the broadly defined definition of “offer.” See Minn. Stat. § 80C.01,
Subd. 16 (“every attempt to offer to dispose of, and every solicitation of an offer to buy, a franchise or interest in a
franchise for value.”).


                                                          15
       Moreover, as the Mitchell Defendants notified Mainstream by letter on October 3,

2019, Mainstream also failed to meet its contract-in-fact and contract-in-law obligations

by, among other things: (1) failing to provide them with commercially reasonable

training, as Mainstream is obligated to do by Article 8 of both the Franchise Agreements;

(2) failing to have in place, and appropriately and timely upgrade, commercially

reasonable assistance to timely meet the Mitchell Defendants’ inventory needs, as

required by Article 6; (3) failing to provide the Mitchell Defendants with commercially

reasonable advertising and marketing programs that would generate a reasonable return

on their mandatory advertising expenditures, as required by Article 5; (4) mandating that

the Mitchell Defendants deal with suppliers specified by Mainstream, including its

mandate, under threat of termination, that they abandon their existing POS System in

favor of Mainstream’s mandated Springboard POS System, in violation of Mainstream’s

obligations to them under Article 6; and (5) failing to provide the Mitchell Defendants

with a comprehensive up-to-date manual and related direction sufficient to meet the

changing demands and preferences of their current and prospective customers, including

failing to adequately and affirmatively respond to the Mitchell Defendants’ requests for

how best to address their customers’ evolving preference for shopping via e-commerce

sites, like those maintained by its competitors, rather than in their stores, in violation of

Article 6 of the Franchise Agreements. (See Cmplt. Ex. F).

       Accordingly, Mainstream’s prior material breaches relieved the Mitchell

Defendants from their obligation to perform under the Franchise Agreements.




                                             16
       “It is well settled that where one party breaches a contract the other party is

relieved from the obligation to perform.” Ball, 645 S.E.2d at 897 (internal citations

omitted). See also Carotek, Inc., 2008 WL 4567308, at *4 (“The general rule governing

bilateral contracts requires that if either party to the contract commits a material breach of

the contract, the other party should be excused from the obligation to perform further.”)

(internal citations omitted).

       As established above, Mainstream breached the Franchise Agreements and the

implied covenant of good faith and fair dealing thereunder. Therefore, under well-

established North Carolina contract law principles, the Mitchell Defendants were relieved

of their duty to perform. Stated differently, given Mainstream’s uncured prior material

breaches of its two Franchise Agreements with the Mitchell Defendants, the Mitchell

Defendants are no longer obligated to themselves abide by the terms of the previously

terminated Franchise Agreements, including the post-termination non-competes.

       For these reasons, Mainstream is unable to allege enough facts to state a claim to

relief that is plausible on its face as a matter of law.

               2. Mainstream violated the Minnesota Franchise Act.

       The Minnesota Franchise Act, Minn. Stat. § 80C.01, et seq., applies because the

Mitchell Defendants’ franchises were “sold in the State of Minnesota.” (See Exhibit A).

See also Minn. Stat. § 80C.19, Subd. 1 (“The provisions of sections 80C.01 to 80C.22

concerning sales and offers to sell shall apply when a sale or offer to sell is made in this

state; when an offer to purchase is made and accepted in this state; or when the franchise

is to be located in this state.”).


                                               17
         Under the Minnesota Franchise Act, a “person”7 is prohibited from terminating a

franchise except for “good cause,” which means “failure by the franchisee to

substantially comply with the material and reasonable requirements imposed by the

franchisor . . . .” Minn. Stat. § 80C.14, Subd. 3(b). Likewise, under Minnesota Rule

2860.4400, Subd. G, a franchisor commits an unfair and inequitable practice if the

franchisor seeks to “impose on a franchisee any contract or rule, whether written or oral,

any standard of conduct that is unreasonable.”                        The imposition of an inadequate,

unnecessary, and prohibitively expensive POS System can hardly be considered a

material or reasonable requirement by a franchisor within the Minnesota Franchise Act

and Minnesota Rule 2860.4400. Therefore, Mainstream lacked the requisite good

cause under the Minnesota Franchise Act to terminate the Mitchell Defendants’

Franchise Agreements and accordingly violated the Minnesota Rule.

         Moreover, under Minn. Stat. § 80C.14, Subd. 3:

         No person may terminate or cancel a franchise unless: (i) that person has
         given written notice setting forth all the reasons for the termination or
         cancellation at least 90 days in advance of termination or cancellation, and
         (ii) the receipt of the notice fails to correct the reasons stated for
         termination or cancellation in the notice within 60 days of receipt of the
         notice[.]

         Stated differently, because the Mitchell Defendants’ franchises were “sold in the

State of Minnesota” (Minn. Stat. § 80C.19; Exhibit A) the Minnesota Franchise Act

applies, and Article 15.2 of the Mitchell Defendants’ Franchise Agreements was

amended to comply with the Minnesota Franchise Act and required that Mainstream

7
 The Minnesota Franchise Act defines a “person” as “a natural person, corporation, partnership, trust, or other legal
entity.” Minn. Stat. § 80C.01, Subd. 12.


                                                         18
provide them with written notice that they breached the Agreement “at least 90 days prior

to the date this Agreement is terminated” with 60 days to cure the alleged breach.

       The Mitchell Defendants were not provided with notice “at least 90 days prior to

the date” their Franchise Agreements were purportedly terminated by Mainstream, nor

were they provided with the requisite 60 days to cure.        Instead, Mainstream’s two

October 2, 2019 Notices of Default and Termination (Cmplt. Ex. E) failed to accurately

cite or apply Article 15.2, as amended pursuant to Exhibits F and G to Mainstream’s

FDDs. Rather, the Mitchell Defendants were given only a “30 day” opportunity to cure

such alleged defaults.

       Because of Mainstream’s violations, it is the Mitchell Defendants who are entitled

to damages.

       Accordingly, Mainstream did not have the requisite good cause to terminate the

Mitchell Defendants, nor did Mainstream provide the requisite notice and opportunity to

cure under the Minnesota Franchise Act and the Franchise Agreements as amended by

Mainstream’s Minnesota Addenda, Exhibits F and G to the FDD. As such, Mainstream’s

statutory and contractual violations negate any obligation by the Mitchell Defendants to

comply with any post-termination obligations and entitles the Mitchell Defendants to a

remedy under the Minnesota Franchise Act, including attorneys’ fees and costs, and the

recovery of all damages caused to them by Mainstream’s violations of the Minnesota

Franchise Act.




                                            19
                   3. Mainstream’s post-termination non-compete provisions in the
                      Franchise Agreements are overbroad because they extend far
                      beyond the protection of Mainstream’s legitimate interests and are,
                      therefore, unenforceable on their face as a matter of law.

         Post-termination non-competes are overly broad and unenforceable on their face

under North Carolina law.

         Post-termination covenants not to compete are disfavored in the law, and will not

be enforced if the “restriction is overbroad . . . or otherwise not reasonably necessary to

protect the established interests of the plaintiff.”8

         A covenant not to compete in a franchise agreement is valid and enforceable under

North Carolina law if the covenant is: “(1) reasonable as to the duration and geographic

scope of the restriction and (2) the restriction is otherwise necessary to protect the

legitimate interests of the franchisor.” Meineke Car Care Centers, LLC v. ASAR Inc., No.

3:14-CV-129-RJC, 2014 WL 3952491, at *5 (W.D.N.C. Aug. 13, 2014) (finding the non-

compete reasonable as it only prohibited franchisee from being engaged in a competitive



8
  See, e.g., Pirtek USA, LLC v. Wilcox, No. 606CV566ORL31KRS, 2006 WL 1722346, at *1 (M.D. Fla. June 21,
2006), in which the request of Plaintiff’s counsel for a post-termination preliminary injunction after the Pirtek
franchisor acted to terminate the applicable franchise agreement was denied, for several reasons, including these
two: (1) this franchisor’s claim to own the customer list was rejected by the Court, since “the customers were those
of the franchisee, not [the franchisor] [the franchisor’s] customers are the franchisees themselves. If any substantial
customer relationships were developed, they were developed by the franchisee;” (2) in applying the traditional four-
part test for preliminary injunctive relief—i.e., (i) a substantial likelihood of success on the merits; (ii) a substantial
threat of irreparable injury if the injunction is not granted; (iii) the threat of injury to the plaintiff outweighs the harm
an injunction may cause the defendant; and (iv) granting the injunction would [serve] the public interest—and in
considering these four prerequisites, “courts should be mindful that a preliminary injunction is an extraordinary and
drastic remedy which should not be granted unless the movant clearly carries the burden of persuasion.” The Court
in that case found that there was not a substantial likelihood that the franchisor would prevail on the merits of the
case, and that the alleged irreparable injury through a loss of goodwill to its existing franchise relationships was “at
best, speculative,” and noting that if indeed there was any harm in the former franchisee operating a competing
business, “the harm would not be irreparable but compensable through money damages.” Given the franchisor’s
findings in favor of the franchisee with respect to the first two prongs of the four-prong test for granting injunctive
relief, the Court determined that it did not need to also address the remaining two factors, and concluded that the
franchisor was not entitled to preliminary injunctive relief.


                                                            20
business, and nothing more). “The reasonableness of a non-competition covenant is a

matter of law for the court to decide.” Id. (internal quotations and citations omitted).

       The Mitchell Defendants do not dispute the time and territory restrictions of the

non-compete provisions. However, the non-competes are overbroad and unenforceable

because they extend far beyond the protection of Mainstream’s legitimate interests. See,

e.g., Window Gang Ventures, Corp. v. Salinas, No. 18 CVS 107, 2019 WL 1471073, at

*1 (N.C. Super. Apr. 2, 2019) (refusing to enforce a franchisor’s non-compete because it

precluded employment by “any business which is the same, similar to or competitive with

[the franchisor].”).

       In an April 2, 2019 decision by the Superior Court of North Carolina, in Window

Gang Ventures, Corp. v. Salinas, No. 18 CVS 107, 2019 WL 1471073, at *1 (N.C. Super.

Apr. 2, 2019), applying North Carolina law, the court dismissed, with prejudice, the

franchisor’s effort to enforce a post-termination covenant not to compete after the

franchise agreement in that case had expired. Particularly applicable to this case, the

North Carolina court noted that “[c]ovenants not to compete are ‘disfavored’ under North

Carolina law.” Id. at *4. The court went on to state that the franchisor, “as the party

seeking to enforce the covenant, has the burden to prove the covenant’s restrictions are

reasonable,” adding that “[t]he reasonableness of a non-competition agreement is a matter

of law for the court.” Id. The North Carolina court’s granting of the motion to dismiss

the claim as to the enforceability of a post-termination covenant not to compete addressed

a clause that is extremely similar to the post-termination covenant not to compete in this




                                             21
case.   The language in question provided that, for a period of two years after the

termination or expiration of the agreement, the franchisee did not then:

        Have any interest as an owner . . . partner, director, officer, employee,
        consultant, representative or agent, or in any other capacity, in any other
        business conducting residential or commercial cleaning services . . . or any
        business which is the same, similar to or competitive with [the franchisor’s
        business] . . . within a radius of 50 miles of [their] Operating Territory.

Id. at *5 (emphasis added).

        The North Carolina court in this case cited a North Carolina appellate case for its

explanation that the North Carolina appellate courts have determined that non-competes

in franchise agreements present hybrid situations in which courts should combine the

elements used to evaluate non-competes for the sale of a business and those used to

analyze non-competes in employment contracts, quoting the North Carolina appellate

court’s explanation as follows:

        the ultimate issue which we must decide in resolving such disputes among
        franchisors and franchisees is the extent to which the non-competition
        provision contained in the franchise agreement is no more restrictive than is
        necessary to protect the legitimate interests of the franchisor, with the
        relevant factors to be considered in the making of this determination to
        include . . . the extent to which the restriction is otherwise necessary to
        protect the legitimate interests of the franchisor.

Id. (internal citations omitted; emphasis added).

        The North Carolina court considered this final factor to be considered as to

whether this very similar post-term covenant not to compete should be enforced,

concluding that “at this level of the analysis . . . [franchisor’s] claim for breach of the

Non-compete fails as a matter of law.” Id. at *7. In support of this conclusion that the

post-termination covenant not to compete needed to be dismissed, as a matter of law, the


                                             22
court cited the Outdoor Lighting appellate case decided under North Carolina law, in

relevant part as follows:

       we believe that the extent to which a particular contractual provision
       unreasonably impairs a former franchisee’s ability to work in a related field
       or particular industry is relevant to the reasonableness of a non-competition
       restriction arising from the termination of a franchise agreement.

Id. (emphasis added).

       Just as is the case here, the North Carolina court observed that the non-compete

language in that case precluded the franchisees from working in any capacity for the

following:

       any other business . . . which is the same, similar to or competitive with
       [the franchisor’s business] and the [franchisor’s franchise system] within a
       radius of 50 miles of [the] Operating Territory.

Id.

       The North Carolina court concluded that, by the non-compete’s own terms, the

provision extends to businesses that are [the same] or “similar to” the franchisor’s

business and the franchisor’s system, “not simply to those that are ‘competitive’ with [the

franchisor’s business].     This feature alone makes the Non-compete overbroad and

unenforceable.” Id. at *8 (emphasis added).

       This same feature in Mainstream’s post-term covenant not to compete language,

prohibiting the Mitchell Defendants from being in “any business that is in any way

competitive with (including, but not limited to, over the Internet) or similar to the

Mainstream Boutique business” is most appropriately also deemed to be overbroad and

unenforceable.



                                            23
      Finally, as the North Carolina court noted, no franchisor having sought to impose

this type of overly broad restriction on its franchisees may ask any North Carolina court

to “blue pencil” the non-compete to render it enforceable, as, under North Carolina law,

the blue pencil rule “‘severely limits what the court may do to alter the covenant.’”

Hartman, 117 N.C. App. at 317, 450 S.E.2d at 920. As a general rule, ‘[t]he courts will

not rewrite a contract if it is too broad but will simply not enforce it.’ Whittaker Gen.

Med. Corp. v. Daniel, 324 N.C. 523, 529, 379 S.E.2d 824, 828 (1989); see, e.g., Beverage

Sys., 368 N.C. at 699, 784 S.E.2d at 461 (‘[W]hen an agreement not to compete is found

to be unreasonable, we have held that the court is powerless unilaterally to amend the

terms of the contract.’).”   Id. at *8.   The same result, for these reasons, is most

appropriate here.

      Similarly, in Outdoor Lighting Perspectives Franchising, Inc., the court rendered a

post-termination covenant not to compete in an Outdoor Lighting Perspectives franchise

agreement unenforceable that prohibited the franchisee from engaging in any business in

competition with or any business similar to the franchised business.

      Here, the non-compete provisions prohibit the Mitchell Defendants from, among

other things, being “engaged in any business that is in any way competitive with

(including, but not limited to, over the Internet) or similar to the Mainstream Boutique

businesses conducted by MAINSTREAM or MAINSTREAM’S franchisees[.]” (See

Cmplt. Ex. A, § 18.2; Ex. B, § 18.2) (emphasis added). As seen, the non-compete

provision extends to businesses that are “similar to” the Mainstream Boutique businesses,

not simply those that are merely “competitive with” the Mainstream Boutique businesses.


                                            24
      The Superior Court of North Carolina has already held that this feature alone

makes the non-compete provisions overbroad and unenforceable. See, e.g., Window

Gang Ventures, Corp., 2019 WL 1471073, at *8 (“Thus, by the Non-compete’s own

terms, the prohibition extends to businesses that are ‘the same’ or ‘similar to’ Window

Gang and its system, not simply to those that are ‘competitive’ with Window Gang. This

feature alone makes the Non-compete overbroad and unenforceable.”) (emphasis

added).

      In light of all the foregoing, the non-compete provisions in the Franchise

Agreements, under North Carolina law, are overbroad and unenforceable. Moreover,

given the above breaches of Mainstream’s legal duties noted in Part A.1, the Mitchell

Defendants’ purported post-termination non-compete obligations were no longer

enforceable.

      Mainstream’s position here is unpersuasive and fundamentally flawed, it cannot be

cured by any amendment, and the Court should therefore dismiss Mainstream’s claims

for breach of the Franchise Agreements and Guaranty and failure to comply with the non-

compete with prejudice.

      B.    Count II should be dismissed because Mainstream’s prior material
breaches of the Franchise Agreements and violations of the Minnesota Franchise
Act rendered the Mitchell Defendants’ other post-termination obligations
unenforceable.

      As noted in Part A.1 above, Mainstream committed prior material breaches of the

Franchise Agreements and violated the Minnesota Franchise Act.             Because of

Mainstream’s prior material breaches, the Mitchell Defendants were no longer obligated



                                          25
to abide by the other post-termination obligations set forth in Sections 6 and 17 of the

Franchise Agreements.

       Moreover, Mainstream fails to cite to any specific purported post-termination

obligation in the 24 subdivisions of Section 6 of the Franchise Agreements. The only

mention of Section 6 of the Franchise Agreements in Mainstream’s Complaint relates

only to in-term obligations. See, e.g., Cmplt. ¶ 37 (referring to the obligation in Section

6.6 to comply with standards and specifications during the term); Cmplt. ¶ 38 (referring

to Section 6.22 of the Winston Salem Franchise Agreement and Section 6.21 of the

Mooresville Franchise Agreement and the Mitchell Defendants’ ability to obtain

computer hardware and software, among other things, during the operations of the

Mitchell Defendants’ business); Cmplt. ¶ 39 (referring to the obligation in Section 6.7 to

complete modernizations or replacements of equipment and other materials during the

term); Cmplt. ¶ 40 (referring to the operation manual in Section 6.10 to be used during

the term); Cmplt. ¶ 41 (referring to Section 6.24 and the Mitchell Defendants’ obligations

to control and manage the business during the term) (importantly, Mainstream misstates

the obligations of Section 6.24 in its Complaint); Cmplt. ¶ 48 (vaguely referencing

Sections 6 and 17 of the Franchise Agreements, but failing to distinguish any purported

post-termination obligations pursuant to Sections 6 or 17 of the Franchise Agreements).

       Accordingly, for the reasons stated in Part A.1 above, the Court should dismiss

Mainstream’s claims of breach of the Franchise Agreements and Guaranty and failure to

comply with other post-termination obligations with prejudice.




                                            26
       C.    Count III should be dismissed because Mainstream was no longer
entitled to purchase any of the Mitchell Defendants’ Business Assets after it
committed prior material breaches of the Franchise Agreements and violated the
Minnesota Franchise Act.

      As noted in Part A.1 above, because Mainstream committed prior material

breaches of the Franchise Agreements and violated its duties under the Minnesota

Franchise Act, Mainstream was no longer entitled to purchase any of the Mitchell

Defendants’ usable supplies, inventory, fixtures and equipment.

      Moreover, Mainstream’s Complaint conveniently overlooks the fact that, in the

Mitchell Defendants’ two November 1, 2019 letters of termination for its Winston Salem

and Mooresville locations (attached to Plaintiff’s Complaint as Exhibit H), the Mitchell

Defendants advised Mainstream that, despite the disputed legal right of Mainstream to

effect termination, if Mainstream wanted to purchase any of the Mitchell Defendants’

Business Assets, including their current usable supplies, inventory, fixtures, equipment,

or any other assets required by Mainstream to operate their Mainstream Boutique

Business, Mainstream should let them know what they wanted to buy on or before the

close of business on November 6, 2019. In the event of such notice, the Mitchell

Defendants offered to promptly then give to Mainstream what they believed to be the

current fair market value price of any such Business Assets. Mainstream never provided

the Mitchell Defendants with any such notice of the particular Business Assets that

Mainstream might have an interest in buying on or before November 6, 2019.

      Accordingly, Mainstream cannot plausibly claim, as it has, that it has been

damaged by the Mitchell Defendants’ purported breach of their obligations to sell to



                                           27
Mainstream all its usable Business Assets when the Mitchell Defendants did in fact do so.

Mainstream’s past decision to not purchase any of the Mitchell Defendants’ Business

Assets cannot now be asserted against the Mitchell Defendants under the thinly veiled

disguise of Mainstream being “damaged.”

      For these reasons, the Court should dismiss Count III.

     D.     Count IV should be dismissed because Mainstream is not entitled to
marketing fees due to its prior material breaches, and Mainstream’s claim for
damages is subject to arbitration.

      As noted in Part A.1 above, Mainstream committed prior material breaches of the

Franchise Agreements and violated its duties under the Minnesota Franchise Act. In

relevant part to Count IV, Mainstream failed to provide the Defendants All These Things,

LLC, Charlotte Parris, and Anitra Mitchell with commercially reasonable advertising and

marketing programs that would generate a reasonable return on their mandatory

advertising expenditures.   Accordingly, because Mainstream materially breached its

obligations as it pertains to Marketing Fees, Mainstream is not entitled to any such

Marketing Fees from Defendants All These Things, LLC, Charlotte Parris, and Anitra

Mitchell.

      Moreover, Count IV should be dismissed because such claims are subject to

arbitration. Section 19.1 of the Franchise Agreements provides:

      Except as expressly provided to the contrary in this Agreement, all disputes
      and controversies between MAINSTREAM and FRANCHISEE and their
      officers, directors and owners or partners and the Personal Guarantors,
      including allegations of fraud, misrepresentation or violation of any state or
      federal laws or regulations, arising under, as a result of, or in connection
      with this Agreement or FRANCHISEE’S Mainstream Boutique Business
      will be submitted to binding arbitration (the ‘Arbitration’) under the


                                           28
       authority of the Federal Arbitration Act and will be arbitrated in accordance
       with the then-current Commercial Rules and Regulations of the American
       Arbitration Association (the ‘Commercial Rules’).

(See Cmplt. Ex. A, § 19.1; Ex. B, § 19.1). Because Count IV is a claim for damages and

not subject to any “carve out” from the arbitration clause, it is subject to arbitration.

       For these reasons, Count IV should be dismissed.

       E.     Count V should be dismissed because Mainstream is not entitled to
future lost fees due to its prior material breaches of the Franchise Agreements and
its damages claim is subject to arbitration.

       As noted in Part A.1 above, Mainstream’s material breaches of the Franchise

Agreements and violations of the Minnesota Franchise Act relieved the Mitchell

Defendants from the obligation to perform. As such, Mainstream is not entitled to future

lost royalty fees due to its own prior material breach.

       Moreover, Mainstream incorrectly asserts that “Defendants caused the premature

termination of the Franchise Agreements by, among other things, failing to install the

required POS System and by abandoning their Mainstream Boutique Franchised

Business.”    (Cmplt. ¶ 114).     When, contrary to what Mainstream purports, it was

Mainstream who committed prior material breaches of the Franchise Agreements by

mandating that the Mitchell Defendants purchase and install a different type of POS

System that was inadequate, unnecessary, and prohibitively expensive. (See Cmplt. Ex.

D).

       Additionally, Mainstream fails to provide any basis for its purported right to claim

lost future fees, and, as such, fails to allege enough facts to state a claim to relief that is

plausible on its face.


                                              29
       Mainstream’s claims for damages in the amount of the remaining term of the

Franchise Agreements is likewise too speculative to calculate. See, e.g., Days Inns

Worldwide, Inc. v. Inv. Props. of Brooklyn Ctr., LLC, No. CIV. 10-609 MJD/JJK, 2011

WL 4538076, at *5 (D. Minn. Aug. 26, 2011), report and recommendation adopted, No.

CIV. 10-609 MJD/JJK, 2011 WL 4537934 (D. Minn. Sept. 29, 2011) (refusing to award

any amount of future damages to franchisor because there was no evidence that the

franchisor could “estimate, with any reasonable degree of certainty,” its lost future profit

damages). Moreover, Mainstream’s claims for damages is properly subject to arbitration.

       For these reasons, the Court should dismiss Count V. (See Cmplt. Ex. A, § 19.1;

Ex. B, § 19.1).

      F.    Count VI should be dismissed because Mainstream had no right to an
audit pursuant to Section 12.5 of the Franchise Agreements after the Franchise
Agreements had already been terminated.

       Aside from the primary breaches of the Franchise Agreements described in Part

A.1 above, Mainstream’s request to audit the books and records of the two Franchise

Businesses was nothing more than retaliatory harassment for the Mitchell Defendants’

bona fide business decision to end their relationships with Mainstream. Mainstream’s

requests for 13 categories of documents to be sent to Mainstream and its counsel (within

one week) were overly broad, not commercially reasonable, and were not good faith

discretionary audit requests.    (See Cmplt. Ex. J).       Upon information and belief,

Mainstream has never made any similar requests to any current or former Mainstream

Boutique franchisee. These actions violated the applicable contract-in-law principle of




                                            30
good faith, fair and non-discriminatory dealing, even if the claimed audit rights in the two

Franchise Agreements were still in effect, and enforceable, which they were not.

       Because of Mainstream’s prior material breaches of the Franchise Agreements

noted in Part A.1 above and in the immediately preceding paragraph, Mainstream had no

right to an audit pursuant to Section 12.5 of the Franchise Agreements after the Franchise

Agreements had been terminated.

       Additionally, based on the plain language of Section 12.5 of the Franchise

Agreements, such audit rights are only available to Mainstream during the term of the

Franchise Agreement. Even if it were true that Mainstream “terminated the Franchise

Agreements on November 5, 2019” (Cmplt. ¶ 1; emphasis added), as Mainstream

purports, that would render Mainstream’s November 6, 2019 demand for an audit null

and void. (Cmplt. ¶ 68).

       For these reasons, the Court should dismiss Count VI.

       G.     Count VII should be dismissed because Mainstream’s civil conspiracy
claim fails under North Carolina law.

       In Count VII, Mainstream purports to allege a civil conspiracy claim. Under

North Carolina law, the elements of a civil conspiracy are: “(1) an agreement between

two or more individuals; (2) to do an unlawful act or to do a lawful act in an unlawful

way; (3) resulting in injury to plaintiff inflicted by one or more of the conspirators; and

(4) pursuant to a common scheme.” Piraino Bros., LLC v. Atl. Fin. Grp., Inc., 712

S.E.2d 328, 333 (N.C. Ct. App. 2011) (internal quotations and citations omitted). It is

well established under North Carolina law that “there is not a separate civil action for



                                            31
civil conspiracy in North Carolina.” Dove v. Harvey, 608 S.E.2d 798, 800 (N.C. Ct. App.

2005). Rather, “recovery must be on the basis of sufficiently alleged wrongful overt

acts.” Id. North Carolina courts have found that where a plaintiff’s underlying tort claim

fails, a plaintiff’s claim for civil conspiracy must also fail. See, e.g., Strickland v.

Hedrick, 669 S.E.2d 61, 73 (N.C. Ct. App. 2008) (“It is well established that there is not a

separate civil action for civil conspiracy in North Carolina . . . Plaintiff argues that civil

conspiracy should attach to . . . plaintiff’s claims for . . . [malicious prosecution.] As we

have held that summary judgment for defendant on these claims was proper, plaintiff’s

claim for civil conspiracy must also fail.”) (internal quotations and citation omitted).

       First, Mainstream grossly mischaracterizes the facts. The Mitchell Defendants did

not create a “pla[n], and implemented their conspiracy in secret to deprive Mainstream of

financial benefits, deprive Mainstream of benefits of the Franchise Agreements, and

deprive Mainstream of the opportunity to retain the customer goodwill developed under

the Marks and Business System.”         (Cmplt. ¶ 129).     There was no such “plan” or

“conspiracy” to deprive Mainstream of anything. Instead, in an effort to mitigate the

damages caused by Mainstream’s wrongful termination, through a separately formed

entity by Brad Mitchell and Anitra Mitchell, Grace and Love, LLC began operating a

different type of upscale clothing boutique, with an emphasis on women’s fashion and

apparel, at the leased Winston Salem, North Carolina location. Likewise, through a

separately formed legal entity by Charlotte Parris, CCP, LLC began to operate an upscale

clothing boutique in Mooresville, North Carolina, at the leased location. The Mitchell

Defendants had the right to do so, in order to mitigate the damage caused by


                                             32
Mainstream’s wrongful termination, and because the post-termination non-compete is

unenforceable.

          Second, Mainstream’s Complaint states that the Mitchell Defendants “developed a

plan and scheme to create Grace and Love, and CCP, for the specific purpose and intent

of soliciting and diverting Mainstream’s customers to ‘Love + Well Boutique’ and ‘Bliss

by the Lake’ and evade the non-compete provisions in the Franchise Agreements.”

(Cmplt. ¶ 126). “A threshold requirement in any cause of action for damages caused by

acts committed pursuant to a conspiracy must be a showing that a conspiracy in fact

existed. The existence of a conspiracy requires proof of an agreement between two or

more persons.        Although civil liability for conspiracy may be established by

circumstantial evidence, the evidence of the agreement must be sufficient to create more

than a suspicion or conjecture in order to justify submission to a jury.” Dove, 608 S.E.2d

at 801.

          Mainstream’s Complaint does not sufficiently allege the necessary evidence of an

agreement. Instead, Mainstream merely alleges that the Mitchell Defendants “developed

a plan and scheme” (Cmplt. ¶ 126) and “created, planned, and implemented their

conspiracy.” (Cmplt. ¶ 129). Moreover, if we construe this claim as alleging conspiracy

to evade the non-compete provisions in the Franchise Agreements, it is still subject to

dismissal because the Mitchell Defendants were no longer bound by the post-termination

non-compete provisions in the Franchise Agreements based on Mainstream’s prior

material breach of the Franchise Agreements. Therefore, because Mainstream’s claim for

failure to abide by the non-compete fails, Mainstream’s claim for civil conspiracy for


                                             33
failure to abide by the non-compete also fails. See, e.g., Strickland v. Hedrick, 669

S.E.2d 61, 73 (N.C. Ct. App. 2008) (“It is well established that there is not a separate

civil action for civil conspiracy in North Carolina . . . Plaintiff argues that civil

conspiracy should attach to . . . plaintiff’s claims for . . . [malicious prosecution.] As we

have held that summary judgment for defendant on these claims was proper, plaintiff’s

claim for civil conspiracy must also fall.”) (internal quotations and citation omitted).

       For these reasons, the Court should dismiss Count VII.

       H.     Count VIII should be dismissed because Mainstream’s purported right
to attorneys’ fees fails as a matter of law.

       Sections 20.1 and 20.11 of the Franchisee Agreements are unconscionable one-

way fee shifting provisions, which only require the Mitchell Defendants to reimburse

Mainstream for its attorneys’ fees and costs if Mainstream prevails. Section 20.1 of the

Franchise Agreements states in relevant part:

       In any action brought under this provision where MAINSTREAM prevails
       against FRANCHISEE, FRANCHISEE will indemnify MAINSTREAM
       for all costs that it incurs in any such proceedings including, without
       limitation, attorneys’ fees actually incurred, expert witness fees, costs of
       investigation, court costs, travel and living expenses, and all other costs
       incurred by MAINSTREAM.

(Cmplt. Ex. A, p. 27, § 20.1; Ex. B, p. 27, § 20.1).

       Section 20.11 of the Franchise Agreements states:

       FRANCHISEE will pay all costs and expenses, including attorneys’ fees,
       deposition costs, expert witness fees, investigation costs, accounting fees,
       filing fees and travel expenses actually incurred by MAINSTREAM in
       enforcing any term, condition or provision of this Agreement or in seeking
       to enjoin any violation of this Agreement by FRANCHISEE.

(Cmplt. Ex. A, p. 28, § 20.11; Ex. B, p. 28, § 20.11).


                                             34
      As noted in Part A.1 above, Mainstream committed prior material breaches of the

Franchise Agreements. As such, Mainstream is not now able to take advantage of the

terms of its terminated Franchise Agreements that it materially breached.

      Because Mainstream is not entitled to prevail on its claims, and because

Mainstream is seeking to enforce an unenforceable non-compete obligation, this Court

should dismiss Count VIII of Mainstream’s Complaint.

                                   IV.    Conclusion

      For all the foregoing reasons, Plaintiff’s Complaint should be dismissed.



                                         DADY & GARDNER, P.A.



Dated: December 6, 2019                  /s/ J. Michael Dady
                                         J. Michael Dady (MN #2062X)
                                         Kristy L. Miamen (MN #0387135)
                                         Rachel D. Zaiger (MN#0400594)
                                         5100 IDS Center
                                         80 South Eighth Street
                                         Minneapolis, MN 55402
                                         PH: (612) 359-9000
                                         jmdady@dadygardner.com
                                         kmiamen@dadygardner.com
                                         rzaiger@dadygardner.com

                                         ATTORNEYS FOR DEFENDANTS




                                           35
